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                                                             'S
                                O F     T    H       E




             !ENERAL                   ASSEMBLY


                STATE oF NEW-JERSEY,

             At a SESSION begun at PRINCETON.On t,e 2-th Day
                of- Augur 1776, and continued by Adjournments-,


                          TO   WHICH IS      PREFIXED,




             CONS T I TU T IO                                     N
                                         t       H




                           T7 A                          T   E.



                           BURLINC        TO N:
                   printed by ISAAC COLLINS, M.DCC.LXXVf
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26                   STATE            or    NEW -JERSET,                  1777,

                                        CHAP.               XX.
                         An A C T for the better regulating the Militia.
 i.,.k.         W     1"HEREAS it is at all Times of great Importance to the Safety
                       of the State, that the Militia fliould be under proper Regula-
               tion and Government ; but more efj~ecially 1b at the prefbnt critical and
               interefting Period, in which the utmoft Exertions of a well-difciplined
               Militia are occafionally necetfary to defeat the Defigns of the Brit;/h
               Court, and to preferve and defend the Freedom and Independence of tae
               United States of America ;

Lis to be         Sec.I. I. BE IT THEREFORE ENACTED by the Council and General
               Atfembly of this State, and it is hercby Enac7ed by the Authtority of the
               fJme, That every Captain or Commanding Oflicer of a Company, who
               now is or hereafter lhall be duly appointed and cominiffioned by the
               Governor, ihall, immediately after the Publication of this A&1, take a
               Lift of all able-bodied Men, not being Slaves (except as is herein after
               excepted) betwecn the Ages of fixteen and fifty Years, who refide in his
               Dif ri-, and are capable of bearing Arms ; a Copy of which Lift
               he flall deliver to the Colonel or commanding Officer of the Regiment
               or Battalion to which he belongs.

Returns tobe     2. THAT every Captain or commanding Officer flhall make Return
,IadL.         of the Number of Men in his Company, their Accoutrements and
               Ammunition, at leaft quarterly, to the Colonel or commanding Officer
               of the- Regiment to which he belongs ; and that every CoJonel or
               commanding Officer of a Regiment fliall maike Return of the Condition
               of his Regiment, at leafi once in every fix Months, to the Brigadier-
               General of the Brigade to which he flhall belong ; on Failure whereof
               the Captain flhall forfeit the Sum of Thirty Shillings, and the Colonel
               Tbree Pounds for each and every Offence, to be levied and appropriated
               in the Manner herein after direaled.

RcMuni of         3. THAT each Brigadier-General flall make Return of the Condi-
tlw Jlrigad,   tion of his Brigade once in fix Montls to the Commander in Chief of-
               this State, under Penalty of Ten Pounds for each Default, to be levied
               and appropriated as herein after direcaed.

Ilowtohe          4. THAT every Perfon above directed to be Arolled fhall bear Arms,
equipped,      attend Mufters, and in all Things be conformable to the Rules and
               Orders herein after mentioned ; and (hall, as foon as poffible, furnifh
                himfelf with a good Muflket, well fitted with a Bayonet, Steel Ramrod,
                Worm, Priming-wire and Brulh, a Knapfiick, Canteen, twelve Flints,
                Cartouch-Box, and twenty-thre Rounds of Cartridges fhited to his
                Gull, under the Forfeiture of Five Shillins for Want of a Mufket,
                and One Shilling for the Want of any of the other Articles; providced,
                that in cafe any Perfbn fliMl be furnifled with a good Rifle Gun,
                with all its neceffary Apparatus, and a Sword, Cutlafs or Tomahawk,
                it fliall be accepted in Lieu of a Mutlet and the Accoutrements proper
                thereto.
                                                                                     e

                    S. THAT every Perfon , dirc6ted to be enrolled as aforefaid, lhall, at
                                                                                    his
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         WILLIAM LIVINGSTON, Efquire,                                 GOVERNOR.               27


        'his Place of Abode, be provided with one Pound of good merchantable and provided,
         Gun-Powder, and three Pounds of Ball fitted to the Size of his Muf-
         ket or Rifle, uiiider the Forfeiture of Three Shillings for Want of
         eithcr.

           6. THAT each whole Company of Militia do affemble, properly Timcsof
        accoutred as aforefhid, on the firft Monday in every Month (except the Muftc,.
        Companies in the County of Cape-May, and thofe of the firft Battalion
        of Militia in the County of Salem, who fhall affemble, accoutred as
        aforefaid, on the firft Saturda in every Month) at fuch Place as the
        Captain or commanding Officer fhall direc, That is to fay, From the
        Month of Oc.ober to the Month of April inclufive, they thall meet at
        ten o'Clock in the Forenoon, and from the Month of May to the Month
        of September inclufive, they flhall meet at two o'Clock in the Afternoon,
        and there flall fpend the Remainder of the Day in improving them-
        felves in military Difcipline, Exercife and Knowledge; and that a
        general Mufter or Review be had of each Regiment three Times in
        every Year, at fuch Times and Places as the Field-Officers, or a Majo-
        rity of them, flhall dire6 : But if the local Situation of the Companies,
        which compofe any Regiment, render it inconvenient to have a regi-
        mental Review, the Field-Officers, or a Majority of them, may review
        fuch Regiment in Divifions, provided each Divifion be reviewed three
        Times in a Year.
           7. THAT every Regiment be officered with a Colonel, Lieutenant- Ilow the Re.
        Colonel, two Majors, an Adjutant and Quarter-Mafter, and may be giments
                                                                              Conmpanics
                                                                                        and

        provided with a Chaplain, Surgeon and Mate ; and that every Compa- arv to be
                                                                              officered.
        ny fhall be officered with a Captain, two Lieutenants and an Enfign ;
        and that each Company ihall appoint any Number not exceeding fbur
        Sergeants, four Corporals, one Drummer and one Fifer.
          8. THAT in cafe any Perfon fhall refufe or neglect to ferve as a Ser- Fhies for' non.
        geant, Corporal, Drummer or Fifer in any Company, being thereunto commiflioned
                                                                                  Officers refuf.
        appointed as aforefaid, he flhall forfeit the Sum of Forty Shillings ;and ing Duty.
        any Sergeant who flall negle6t or refufe to warn the Company to meet
        when required by the Captain or commanding Officer, fhall forfeit the
        Sum of Three Pounds for every fuch Refufal or Neglect ; provided that
        none be appointed Sergeants or Corporals but fuch as have a6tually
        appeared or fhall appear in Arms ; Provided alfo, That no Perfon
        be fined more than once a Year for refufing to accept any of faid
        Offices.
          9. THAT the following Penalties be infliated on thofe who do not Penalties for
       attend and obey orders on the Days appointed for general Mufters or ance   Non-Attend-
                                                                                      on gene.
       Reviews, to wit, On a Colonel the Sum of Six-Pounds, on a Lieutenant- ral Muftcrs.
       Colonel Five Pounds, on a Major Four Poundr, on a Captain Three
       Pounds, Lieutenants; Enfigns, Adjutants and Quarter-Mafiers Two
       Pounds each, and upon Sergeants, Corporals. Drummers, Fifers,
       and all Privates directed to be enrolled as aforefa~d, not lefs than Seven
       Shillings and Six-pence, nor more than Twenty-two Shillings and Six-
       pence for each and every Default, to be affeffed at the Difcretion of
       the Field-Officers of the Regiment, or a Majority of them, due Regard
       being had to the Eftate and Circumftances of the Delinquents; and
                                          K                                that
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                 that the fame Penalties be infli~qed on thofe Officers and Privates of
                 Companies who do not attend properly accoutred, and obey Orders on
                 the Times appointed for the Meeting of Companies, at the Difcre-
                 tion of the commiffioned Officers of the Company to which the Delin-
                 quents belong. And if any commiflioned Officer, at finch Meeting of
                 the Company or general Review, fliall mifbehave or demean himfelf in
                 an unofficer-like Manner, he fliall, for fuch Offence, be caihiered or
                 otherwif punifled by Fine, at the Difcretion of a general or regimental
                 Court-Martial, as the Cafe may require, fb that fich Fine exceed not
                 the Sum of 7Ten Pounds, and in fich Cafe due Regard fthall be had to
                 the Rank and Circumfiances of the Offender.

No n-commnif-      1o.    THAT any non-commiffioned Officer or Soldier who fhall,  while
lioned Ofli-                                           fliall ufe reproachful or abufive
cers or Soldi- on Duty, be found drunk, or who
ers miflbe-    Language towards any of his fuperior Officers, or thall quarrel him-
having on i)u-
tv,            f If, or promote any Quarrel among his Fellow-Soldiers, fliall be dif-
               armed by the Captain or commanding Officer at the Head of the Com-
               pany, be turned out of the Ranks for that Day, and be fined by the
               faid Captain or commanding Officer in any Sum not more than Twenty
               Shillings; and, if neceffary, flall be put under Guard during the Time
                 the Company flhall continue under Arms, but no longer.
or appeariig        i i. TuAT any non-commiffioned Officer or Soldier who fhall, on
with bad
Arms or Ac-      the Day appointed for the Meeting of the Company, or of a general
Coutreinents.    Review, appear with his Arms or Accoutrements in an Order or
                 Condition unfit for Service, flhall be fined by the Captain or command-
                 ing Officer, in any Sum not lefs than One Shilling, nor more than Five
                 Shillinlg:

Non-Attend-         i2. THAT any non-commiffioned Officer. or Soldier, who fhall not
ante   in due    attend in due Seafon on the Day appointed for the Meeting of the
scfo,,.          Company, or of a general Review, flall, in the firit Cafe, be fined by
                 the Captain or commanding Officer in any Sum not exceeding Ten
                 Shillings, and, in the k~cond Caf&, in any Sum not exceeding Twenty
                 Shillings.

Pcrfons Una-        13. THAT any Perfon who, by a Majority of the commiffioned Of-
ble to pur-
chafe Arms
                 ficers of the Company to which he belongs, fhall be deemed unable
and Accou-       to purchafe the Arms, Accoutrements and Ammunition afore-ment6.-
trements,
when to be       oned, flhall be exempted from the Payment of Fines, on appearing at
exempted.        the Time of Meeting or Review, without the neceflary Equipment,
                 until the fame be provided for him.

Fines of In-        14. THAT the Fines of young Men living with their Mailers, Mif-
fants and Ser-
vants.
                 treffes, or Parents, who are above the Age of fixteen.Years, and under
                 that of twenty-one, and of white Servants who flall negle& or refufe
                 to do the Duties enjoined by this At, fhall be levied on the EfMates of
                 the Mailers, Miftreffes, or Parents.

Lifts of De-        1S. THAT the Field-Officers, once in every fix Months, and the Cap-
liniquents,
when and
                 tains and Subalterns, once in every two Months, do tranfmit a Lift of
how to be        Delinquents in their refpe&ive Departments, with the Fines annexed
traninitted.     and properly attefted, to any Juftice of the Peace for the County in
                                                                               which
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           WILLIAM LIVINGSTON, Efquire,                                GOVERNOR.              29


          which fuch Delinquents refide. PROVIDED ALWAYS, That no fuch
          Lift fliall be fo returned till two Weeks after fich Fines fhall be awarded.

             i6. Ti-I AT the military Officers, in all Cafes where they are empow- IReafonable
          ered to impofe Fines on Delinquents, are hereby dire6led to admit rea- Excuies.
          fonable Excuf s, and thereon to difi:harge any Perfon fined from Pay-
          ment of his Fine ; provided fuch Fine be not returned to the Juftice.

             17, THAT the commanding Officer of every Regiment be and here- Who are to
          by is empowered and directed to receive any Fine awarded by the Field- receive Fines.
          Officers of the time, and to give Receipt therefor ; and the command-
          ing Officer of every Company is hereby empowered and dire6ed to re-
          ceive any Fine awarded by the Officers of the fame, and to give Receipt
          therefor; provided the Payment of Rich Fine be offered betbre the De-
          linquent's Name be returned as aforeflid ; and fiich commanding Of-
          ficer fhall, once in every fix Months, tranfinit to the County Colle6tor
          all Fines by him, and the Names of the Perfbns from whom, received ;
          and, in cafe of Default, thall forfeit the Sum of Five Pounds ; to be
          recovered by faid County Colle6lor in any Court of Record where the
          fame ihall be cognizable, the one Half for the Ufe of the Poor of the
          Townfhip where the Defaulter refides, and the other Half for the Ufe
          of the County Colle6lor fb thing for the fame, with Coifs of Suit ; and
          fuch commaiding Of;.cer fhall alfo, in Rich Cafe, be thbje&t to an Ac-
          tion of Debt, at the Suit of fuch Collecaor, for the Recovery of the
          whole Sum by him received, with Intereft on the fame, and Colts of Suit.

             i8. THAT ill all Cafes, where the Age of any Perfon fliall be difput- Age difputed.
          ed, fich Perlbn fhball prove his Age to the Satisfa6tion of a Majority of
          the Officers in the Linits of whof Company he refides.

             19. THAT all Militia Officers flhall take an Oath or Affirmation for Militia Offl-
          the due Pei'forniance of their Truft, with Refpect to the Affeffinent of cers to be
                                                                                   qualified.
          Fines by Virtue of this ALI.

             2o. THAT if any Perfon remove from the Limits of his own into Perfons re-
                                                                                 niovinlg and
          thofe of any other Company, he fhall be confidered as belonging to Strangers
          the Company into the Limits of which he may remove, and thall be coining.
          enrolled accordingly ; and every Perfbn, between the Ages of fixteen
          and fifty Years, capable of bearing Arms as aforefaid, who fhall come
          from any of the neighbouring States into this State, fhall, within two
          Weeks after his Arrival, be enrolled in the Company within tli Li-
          mits of which he may happen to refide, and thereafter in every. Refpea
          be deemed to be one of faid Company.

            2.1.   TIIAT all  Fines, herein before impofed upon any Officer or Sol- Fines, how to
          dier, fhall,. in cafe of Refufal of Payment, be levied on the Goodsand be levied,
          Chattels of the Offender, by Warrant of Diftrefs from. a Juffice of the
          Peace, direc1ed to the Conflable of the Townthip or Diftri6t wherein
          Rich Offender fliall refide ; who thall, at leaft five Days before the Sale,
          give Notice thereof by Advertifements, in three publick Places in the
          Neighborhood.

            22. THAT the Fines and Eorfeitures aforefaid, levied by any Con- and paid.
                                                                             flable,
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               flable, flall, when recovered, be paid to the Juflice who iffued the
               Warrant, who is hereby direaed to pay the fame to the Collealor of
               the Difiric in which the Offender refides.

Three Corn-      23. AND WH'EREA S light Horfe are extremely ufeful and necef-
panies of      fary, BE IT THEREFORE ENACTED by the Authority aforefaid, That
Horfe -
               three Companies of Horf flall be embodied in this State, and no more;
               that each Company flhall confift of thirty-three Privates, and be offi-
               cered by a Captain, Lieutenant and Cornet, -who fhall be confidered
               as of equal Rank with the Captains, firft Lieutenants and Enfigns of
               Foot Militia.
their
tion, Regla.     24. THAT the Oflicers and Privates in every Troop fliall, in every
               Refpe&L (fiive that of Equipment and Forfeiture for Want thereof) be
               conformable to the Regu.lations herein eftabliflied for the Government
               of the Foot Militia.
ad Accot-         25. THAT every Trooper flall furnifli himfelf with a good Horre,
•t'clnct'so    a good Bridle and Saddle, Holflers and Cafe of Piflols well fitted, a
               Sword or Cutlaf , a well fixed Carbine, with Belt, Swivel and Sling,
               and a Cartouch Box that will contain twelve Rounds of Cartridges,
               under the Forfeiture of Six Pounds for the Want of a Horfe, and of
               T wentI* Sbillings for the Want of a Saddle and Bridle, or Carbine, or
               Holfters and Cafe of Piflols, and of Three Shillings for the Want of
               any of the other Articles.

Troopers to       26. THAT every Trooper flall, at his Place of Abode, be pro-
have Powder    viled with one Pound of good merchantable Gun-Powder, and three
amd Ball.
               Pounds of Ball fitted to his Carbine and Piflols, under the Forfeiture
               of Three Shillings for the Want of any of the faid Articles : All
               which Fines and Forfeitures flall be levied and paid in Manner aforefaid.

Who may en-      27. THAT no Perfon, fave fuch only as is able to furnifl himfelf
lift-in the
Ihorfc.        with all the Accoutrements neceffary to equip a Trooper, fliall enlift in
               any of the Laid Companies of Horfe.

Pay and Ra-       28. THAT the Horfe Militia, when in a6lual Employ, lhall, as a
tions of the
I lorfe.       Compenfation for their perfonal Service, have the fame Pay, Rations
               and Allowance as the Horfe of the United States of America ; and, as
               the Horfemen furnifh themfelves with Horfes, they fliall, when in
               a6lual Service, be allowed at the Rate of One Shilling and Six-pence a
               Day over and befides the Continental Pay, as a Compenfation for the
               Ufe of their Horfes.
Power of the      29. TH AT the Captain-General or Commander in Chief for the Time
Captain-Ge-
neral.         being, in cafe of Invafion, Infhrredtion or Alarm, or in Time of War,
               may, and he is hereby empowered to call into a~tual Service the whole
               Militia, or to order fuch Detachments as he fhall judge neceffary ; and
               on Application of the Congrefs, or the Commander in Chief of the
               Continental Army, it fhall and may be lawful for the Commander in.
               Chief of this State for the Time being, with the Advice of the Legif-
               lature when fitting, or, in their ReceIs, with the Advice of the Privy
               Council, to order the laid Militia, or any Part thereof, to aflift the Con-
                                                                                tinental
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           WILLIAM LIVINGSTON,                            Efquire,    GOVERNOR.                 3T


         tinental Army in any of the neighbouring States : And that any Mili-
         tia Officer, in caft of fhdden Alarm, may and is hereby required to
         afrlmble the Men under his Command, and to ufe his bett Endeavours
         to annoy the Enemy, or to repel an Invafion, without waiting for
         Orders from the Commander in Chief, making Return of ftich his
         Proceedings to the Commander in Chief, or to his Brigadier-General as
         fbon as poffible.

            3o . THAT, in order the more effe6ually to fecure perfonal Service v ,,e,,,,
                                                                               cll, ifflolled
         in Times of imminent Danger, every non-comnilioned Offlicer or Sol- Officers    and
         dier, dire6led to be enrolled as aforeftid, who f(all neglect or refell   to Sildicrs for
         march when called upon on an Invafion or Alarm, or who, when the nrtmarchig.
        Company to which he belongs thall be convened for the Purpofe of
        raifing Levies, or detaching the Vhole or Part of the Militia for the
        Defence of the State, or any of the neighbouring States, (hall neglect
        or refuf to march when (letached in his Turn, or to provide a fit
        Perfon to march in his Stead, thall, for each Off'ence, be fined at the
        Dircretion of the Perfons herein after named, acd in the Manner here-
        in after directed, in any Sum not lefs than .,ive Pounds, nor more than
        Thirty Potods.

           3i. T1HAT every comriviffioncd Officer, who flhall neglecd or refufe Fiesa,,,dPu.
        to march with the Battalion or Company to which he belongs, at the nilmnt of
        Time of an Invafion or Alarm, or to take his Tour of Duty when Officers for
        called upon, flhall, if a Field-Officer, be tried by a general Court- not marching.
        Martial ; and, if under the Rank of a Field-Officer, be tried by a regi-
        mental Couirt-Martial ; and, if convi6led, flhall be calhiered and deemed
        unfit for further Service as an Officer ; and, on Certificate of fich Con-
        viction returned to the Aflefor herein after mentioned, Ihall alfb, at the
        Difcretion of the Perfons herein after named, and in the Manner
        herein after direted, be fined in any Sum not lefs than Eight Pounc/s,
        nor more than Fort), Pounds.

            3-2. THAT, when Part only of the Militia flhall be called for, the Detachments
                                                                                r,o,, the Mi.
         Field-Officers of each Battalion flall afcertain the Proportion• to be litia.
        taken from each Company in their Battalion, obferving as a Rule -the
        Number of Men in the feveral Companies which compofe fuch Bat-
        talion ; and, in fich Cafe, the comniffioned Officers of each Compa-
        ny fhall be, and they are hereby empowered to count off fuch Propor-
        tion, and to determine who flall go from their Company, paying due
        Attention to, and keeping in View as a general Rule, the Courfe or
        Tour of Duty.

           33. THAT, in order to equip as far as poflible every Man who fliall Howto equip
        be detached, the commititoned Officers of every Company are hereby the.Detach.
       empowered and direcled to imprefs and take from fuch of the Militia in
        their Company, as are not ordered into Service, a Number of Mufleets
       with their Accoutrements, fufficient to equip thofe who are detached as
       aforefaid, giving Receipts and taking Apprait~ments under Oath for
       the fame : And the MuB:cts and Accoutrements fo at any Time taken,
       if loft or damaged in the Service, flall be made good by the State:
       PROVIDED ALWAYS, That it be in the Option of any Owner to take
       back his Mufket or Accoutrements, and have the Damage valued by
                                           L                             the
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                 the f-rnner Appraifers, and made good, or to be paid the full Price of
                 the titmne, as atfertained by the afore-mentioncd Appraiftrs. And the
                 County Collcc'or is hereby empowered and direcled to pay, as the
                    d.e may require, the ffill Value of fuch Mulket and Accoutrements,
                 or tl-e Amo,unt of the Damage fo as aforefiid appraifid ; which fiaid
                   .u~t, and Accoutrements, if fully paid fbr, lhall be delivered to the
                 C,01;Mniding Oflcor of the Battalion for the Ufe of the State ; and tho
                 Tr'Faliii'Cr is hereby empowered and dire(led to repay the Sum b as
                 ai oriclid advanc.cd by fuich County ColicLor.

commniff-0,11-      34. THA'r the conimiffioned Officers of every Company fliall be, and
                 they hereby arc autliori~d and dire.Lcd to hear and adjudge of any
                 Excu1b that may be offered by any non-commiflioned O icer or Soldier
                 of. their Company, for not performing any Duty enjoined by the thir-
                 tieti Se~ion of this AI; and they ihall, by Advertifiments, in two
                 piIblick Places in the Limits of lifid Company, give Notice of the
                 Time and lace of their Meeting to hear and adjudge thereof: And
                 the f"dl Oiicers are hereby further direSed to obf rve as a general Rule
                 (although there may be fbme fiecial Exceptions, of which too they arc
                 to judge) that no Excufi, 1hve that of Sicknef&, Ihall be admitted as
                 legal and valid f'or not performing any Duty enjoined by the Se&ion
                 ]a:tA above-mentioned ; and, in order to enable fiid Officers fairly and
                 f"ully to decide upon any Excuf , they are hereby empowered to exa-
                  lhlinc oil (Cith, which any of them may adminifter, any Perfon touch-
                 i;. the 'T'roth of fLich Excuf .

11ml the            33. AND WHEREAS it is highly proper and necefflary that the
  ;irlv]to
Fies             Fines direcied to be levied in Confzquence of any Violation of the
                 thirtieth and thirty-firfi Seclions of this A61, flhould be in Proportion
                 as well to the Eflate as to the military Rank of the Offenders, BE
                 IT 'T 1E 14EFRo tE ENACTED by the Authority q/ore/fid, That the Field-
                 Officers of every Battalion, or a Majority of them, -and the commili-
                 oned Officers of ever), Company, or a Majority of them, (as the Cafe
                 may require) flball, as fooni as poflible, make Return of the Names of
                 the Oflfanders againll the Secions laft mentioned to the AtFefror with-
                 in whofe 1)ii'ic fclch Offenders refide ; and the fhid Aflhflbr fhall, and
AIWhlr           he is hereby direcIed and empowered to call to his Affiftance any two
                 Juflices of the Peace of the County, and, in Conjungtion with them,
                 to af ertain and aflfs the Fine to be paid by every Perfbn in fich Dif-
                 trieR, who lall have offended againfti the two Se&ions aforefaid ; ob-
                 firving always, neither to go above nor below the Sums mentioned
                 therein.   PRovI DED, That the Agreement of any two of the three, as
                 to 14id Affeffments, ihall be conclufive.

                    36. TiTAT every Affeffor, previous to his doing any Thing in the
                 Afl rnent-Way by Virtue of this A, flall make Oath before fome
                 Juflice of the Peace for the County in which he refides, That he will
                 truly and inpartially, according to the bet of his Skill and Underftanding,
                 afrertain and fi/i the Fine oj" every OjJender agreeably to his ratable
                  LjatC, and mditay Rank, anid to the true hItent and Meaning of this Atd¢.
                    37. TmiaT every Ihchi Afflor ihall, with all convenient Speed, tranf-
                  nit to the Colleaor, in whof6 Diftria fluch Otnders refide, an Account
                                                                                     of
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           WILLIAM LIVINGSTON,                             Efquirc,     GOVERNORt.             33

          of all Fines fo as aforefaid affeffed; and every fiich Collec6or fliail make Accoun'.t of
          .a Demand of all fich Fines fb tranfinitted to him, within ten Days tl *1iiited to
          after receiving the Account.                                                 the CoUldor.

             38. THAT incafe any Perfin flhall refufe or negleal to pay fuch Fine MoleofIc-
                                                                                        theIL
          to the Collector when demanded, or on Notice properly given at the COv':uri'g
                                                                                  inc.
          Place of hi' Abode, Iiich Colleclor, within fifteen Days after the De-
          mand or Notice, Ihall return the Name of the Offender, with the Sum
          he is to pay, to any Juffice of the Peace in the County in which the
          Offender refides ; which Jufltice is hereby empowered and dire6ted to
          adminifler an Oath or Affirmation to aid Collector, that the Fine had
          been demanded of, or Notice thereof given to, the Olfender, and
          thereupon to iflhie his Warrant to the Contlable to raii from any Goods
          and Chattels of the Offender (except Arms, Accoutrements and Am-
          munition) by Diflref and Sale, after proper Advertifinent as afbre-
          fiid, the Sum in which he was aflffed, with Colts, as hereia after is
          dirccled. And the Conflable is hereby required to pay the faid Sum to
          the Collector in whofLe Difrid the Offiendcr refides, and the Ovcrplu-,
          if any, to return to the Owner.

              39. THAT every Conflable fhall forfeit the Sum of Six Pounds for Coftales
          Breach of any Part of the Duty enjoined on him by this A61, to be 'orfeiture.
          recovered by the Collector in whole Towntlhip or Diflrid he refidcs, in
          any Court of Record where the tame lhall be cognizable, with Cofts of
          Suit, to be appropriated the one Hlalf to the Ufk of the Poor of the
          Laid Townfhfip or Diftri', and the other Half to the UI of the Col-
          ledtor fb fuing for the fame : And in caf any Collector fhall knowingly
          conceal the Affair, or negled to fue the Conftable offending as aforefaid,
          for the Space of ten Days after receiving Notice of fuch Offence, or
          fliall any otherwife commit a Breach of the Duty enjoined him by this
          Act, he fhall forfeit the Sum of Six Pounds for every Offence, to be
          recovered by any Perfon who will fue for the aime ; the one Half for
          the Ufe of the Poor of the Townthip or Diftrid in which the Collec-
          tor refides, and the other Half, with Cofis of Suit, for the Ulb of the
          Peribn fuing.

             40. THAT any Juftice of the Peace, who flall neglect or refufe to Juftices For.-
          perform any A8 or Duty hereby enjoined on him, flall forfeit for each feiture
          Offence the Sum of Twelve Pounds; to be recovered by any Perfbn
          who will fue for the fame, of which the one Half fhall be paid to. the
          Overfeer of the Poor, in whofe Townfhip or Diflrid the Offender re-
          fides, for the Uf6 of the Poor in aid Diftrid ; and the other Half, with
          Cois of Suit, to the Perfbn filing for the fame.

             41. PRovIDrD ALW AYs, That any Perfbn, who flll think himfelf Appeal.
           aggrieved by any fuch Affeflhient, may, on Payment of the fame, and
           at any Time within the Space of ten Days after Demand or Notice
          thereof as aforelaid, appeal. therefrom to the next, but no other, Court
          of General Quarter Seffions of the Peace for the County; which Court
          is hereby empowered to decide thereon, and aid Decifion flhall be con-
           clufive.

             42. THJAT the Affieflbrs fliall have and receive the Sum of One Shil-
                                                                           li)n.
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                          STATE         OF    NE JY-7ER SEY,                 1777.

Aflieflbrs and    ing -for every Fine, as a Compenfation for their Trouble in Affefling;
                  and the Colle6lor lhall receive Four-ence in the Pound for cole    Ing
                                                                                      tie
                  Fines herein direled to be by them afleffed and colleLed ; except the
                  County Colleclors, who flhall have only "TWo-pencein the Pound allowed
                  them.
inflices Frr.
                    43. THAT the Juflice flhall receive the Sum of One Shilling for every
                  Warrant of DifIrels iflued for military Default, the fame to be levied,
                  with the Penalty, on the Eftate of the Offender.
colf-abm
      ,s    44. Ti-i AT every Conflable (hall levy upon the Eftate of each Offender,
ri. .    mentioned in the Warrant to him directed, the fbllowing Sums, over
         and befides the Penalties laid in the Warrant, as a Compenfation for
         his Trouble, to wit, For every non-commiffioned Officer and Soldier
         the Sum of One Shilling and Six-pence, and for every Field-Officer, Cap-
         tain, Lieutenant, Enfign, Adjutant, and Quarter-Mailer, the Sum of
         TYwo Shillings and Six-pence.

'.town Culhec-       45. THAT every Town Colle6tor flhall, once in fix Months, pay the
tors to pay the
County Col-       Collecqor of the County in which he refides, the Sum of Money he may
 cdtors.          colle&q and receive by Virtue of the Direclions of this A& ; and any
                  Rich ColIe~Lor, who thall neglea or refufk to pay all fuch Sums to the
                  County Colledtor in Manner aforefaid, fhall, befides the Penalty before
                  mentioned fbr the Breach of Duty, be fubjea to an Aaion of Debt,
                  at the Suit of hfich County Collector, for the Recovery of the whole
                  Sun by him received, with lintereft on the fame, and Cofis of Suit.
                  And that the County Colle.ors pay to the Captains of each Company
                  as much Money out of the Fines paid into his Hands, as the Field-
                  Officers of each Battalion, in Conjun6ion with the Juflices and Affeffor
                  herein before mentioned, or a Majority of them, fhall judge neceffary
                  to be expended for the inflruc1ing Drummers and Fifers in the refpec-
                  tive Companies ; which Adjudication, with the Captain's Receipt there-
                  on, Ihall be a Di(harge for fo much of the publick Money to the tfid
                  Collec'or.

County Col-          46. THAT every County Colleaor hall annually pay to the Trea-
letor to pay      fhrer of this State the Sums of Money he flall receive from the Town-
the Treaiurer
;IIInII.lly'.     fhip Collecors as afore~fid, except fo much as flhall have been adjudged
                  to be expended for the Inflru&ion of Drummers and Fifers as afore-
                  thid ; and any County Colleaor, who fhall negle6l or refuft to pay
                  the thune, flhall forfeit for every Offence the Sum of Fifty Pounds, to be
                  recovered by the Treafarer in any Court of Record where the fame
                  f(all be cognizable, the one Half for the Ufe of the State, and the
                   other Half for the Ufe of the Treafurer, with Coft of Suit ; and fuch
                  County Colleclor fhall alfo in fuch Cafe be fhbject to an A6lion of
                   Debt, at the Suit of the Treafbrer, for Recovery of the whole Sum
                   by him received, with Intereft, and Coll of Suit.


 County Col-         47.- THAT all the County Collectors fhall annually tranfmit to the
 ledtors to
 tranfinit Ac-
                  Legiflature of this State an Account of the Monies which they fhall
 counts to the    have received and tranfinitted to the Treafurer by Virtue of the Direc-
 Legiflature.
                  tions of this A8.
                                                                            48. THAT
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           WILLIAM LIVINGSTON,                            Efquire, GOVERNOR.                    35

            48. THAT the Foot Militia, when in a6lual Service, fhall have the Pay. Ri-
          fame Pay, Rationsof and Allowance,  as the Forces of the United States ti,l
                                                                                    otie
                                                                                    Militia.
          of America.              Amrica.Fot


             49. THIAT no Procefs whatever, unlefs in Behalf of the State, fiball Ol1icers and
          be ferved on any Officer or Soldier, who fhall appear and obey Orders sell ,-s
          on the Day and at. the Place appointed for any private or general Muf- empted from
          ter ; or while in a6lual Service ; or in going to or returning from flich ,. .
          Place of Mufter or Service.

             5o . THAT no Officer or Soldier, in going to or returning from his What Ex.
          Place of Training, fhall pay more than one third Ferriage ; and any enipti,,        rom
                                                                                  Fur,'ia:ges and
          Ferryman refufing to ferry at that Rate flall forfeit the Sum of Twenty 'rolls.
          Shillings, the one Half to the Prolkcutor with Cofis of Suit, and the
          other Half to the Uti of the Poor of the Townfliip or Precint where
          fuch Ferry is kept ; and every Officer and Soldier fliall pafs free over
          Toll-Bridges in going to or returning from Training.

             S.   TH-AT Offenders (hall, in all Cafes, be committed to Gaol when Whee Of-
          EffeCts cannot be found whereon to levy Execution.                           fcnders are
                                                                                       to be Coln-
                                                                                       mitted to
             52. THAT the Militia, as well Horfe as Foot, fliall, when in a~tual Gaol.
          Service, . be fhibje6c to Courts-Martial, and be under the fame Regulati- c,,rts-MAl-
          ons, as the Troops of the United States of America. Provided, That t",'
           the Militia of this State fhall be tried by their own Officers only ; and
           provided alkb, that the Pains and Penalties impofed by a Court-Martial
           (hall not extend to the taking of Life or Member, or to the Infliation
           of any corporal Punifhment, unlefs in the Cafes following, to wit, Any
           Officer or Soldier, who flall hold a treacherous Correflpondencewith orgive
           Intelligence to the Enemy, or who flall defert to the Enemy, and after-
           wards be taken, or who /hall misbehave hinfelf before the Enemy, or
          Jiamefully abandon any Poe committed to his Charge, or fl allfpeak Words
           inducing others to do the like, jTJall filer _Death, orfich other Punfl-
           ment as a general or regimental Court-.Mirtialjhall direcT.
              53. THAT the Members of the Legiflative Council and Affembly, Exceptiono.
           the Delegates of the Honourable Congrefs for this State, the Attorney-
           General, the Secretary and Treaffirer of this State, the Judges and
           Juffices of the Supreme and Inferior Courts and Courts of Admiralty,
           the Clerks of the Council and Affembly, the Clerks of the Courts of
           Record, the Governor's private Secretary, the Minifters of the Gofpel
           of every Denomination, the Prefihent, Profeflors and Tutors of Colleges,
           the Sheriffs and Coroners of this State, one Conflable for each Town-
           fhip, to be fele6led by the Court of Quarter-Seffions, in cafe neither
           Conflable in the Townlhip fhall be exempted by Age, and Ferrymen,
           That is to jay, Two for each publick Ferry on the Delaware below the
           Falls at Trenton, and one for every other publick Ferry in this State,
           fhall be, and they hereby are exempt from military Duty.
             54. THAT nothing in this A61 contained flall be conftrued to oblige Ten Men at
          the Men, not exceeding ten in Number, employed at the Salt Works Salt  D.. Bard's
                                                                                     WVorks
          eie6led by Do6lor Samuel Bard, and exempted by an Ordinance of the ex'empted.
          Convention of this State, to do any military Duty during the Conti-
          nuance of this A&.
                                           M                        5 5.AND
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36                      STATE            oF    NET-ERSE                   ,   '777.

                    55. AND WHEREAS it is highly reafonable that the Burden of
emptcd 1 to       the publick Service fliould be laid'as equal as poffible on all the Inhabi-
 1,Y a*;'.
                  tants : AND XVlJ EREAS every Principle of Juflice and civil Society re-
                  quir,:s, that all fbch as are exempted fiom a6tual Service in the Mili-
                  tia flhould, in a pecuniary Way, contribute their juft Proportion to-
                  wards the Defence and Prefervation of the Government, under which
                  they claim, and are entitled to receive, Protection; BE IT THEREFoRE
                    N.xc 'r En b; the Authority aforefhid, That upon and out of the Eftatcs,
                  Real and Peribnal, of (uch Perfbns within this State as are of the Age
                  of fifty Years and upwards, and aie exempted from military Service on
                  the Score of Age, and of fuch as are between the Ages of fixteen and
                  fifty Years, and arc exempted on the Score of Inability of Body,
                  and of fuch as are exempted on the Score of Profeffion, or Office,
                  or otherwife, there lhall yearly and every Year, during the Continuance
                  of' this ALI, be affeflid, levied, and colle~ed, over and befides all
                  other Taxes, a Rate or Tax to the tlme Amount, in the fame Propor-
                  tion, and in the fame Manner, as fuch Perfbns and their Eflates would
                  be rated and aflrled at in Taxes for the Sinking Fund, in fhch Year
                  when the Sum of Fiften Thozfand Pounds was dire6cled to be raied iii
                  this State, and in every Refpea agreeably to and under the fame Pe-
                  nalties as arc expreffed in an A61, entitled, An At to fettle the Qotas
                  v/' theft'veral Countie; in this Colony, for the lev,ing Taxes, and paffed
                  the fixth Day of December, in the Year of our Lord One Thou'Fknd
                  Seven Hundred and Sixty-nine. PROVIDED ALWAYS, That every
                  Perfbn, exempted as aforefhid from actual Service in the Militia, who
                  lhall, at his own Expence, fit out any one or more Son or Sons, under
                  Age, and living in his Service, Apprentice or Apprentices, Servant or
                  Servants, and keep him or them properly equipped and accoutred as
                   by this A& is required, fliall, for every Son, Apprentice or Servant, 1b
                   kept equipped and accoutred as aforefiid, be entitled to a Dedu6tion
                  of one Third Part of the fid Tax; and if he fliall ib fit out and keep
                  equipped and accoutred three or more Sons, Apprentices and Servants,
                  lie fliall not be ftibie6l to the Payment of any ffich Tax.

   Flnd forRe-       56. TihAT :ie Money, arifing from the Fines afbrefaid, and from
 lief of di.fi-   the TaxatioiL of Exempts, and directed to be depofited in the State
 bled soldiers,
 and of Vti.      Treafury, thall be fet a part and appropriated, as a Fund, for the Re-
 dows and
 Chldn,.          lief and Benefit of filch Soldiers, as may be wounded or difltbled, and
                  of the Widows and Children of fuch as may lofe their Lives in the
                  Service of this State, in Proportion to their refpe&ive Neceffities, and
                  to fiich other Purpofes as the Legiflature thall direct.

 Former Mi-         57. THlAT all Laws made by any former Legiflature of this State,
 litia Laws re-
 pealed.
                  and Ordinances of any Congrefs or Convention, for regulating the
                  Militia, or in anywife refpeting the fame, fliall be, and they are here-
                  by repealed and made void.

 Continuance.       58. THAT this A&t fhall continue in Force for the Space of one
                  Year, and from thence to the End of the next Sitting of Generat
                  Aflnbly, and no longer.
                                 Pq/fed at Haddonfield, March r5, 1777.


                                                                                CHAP.
